     Case: 3:19-cv-00955-wmc Document #: 27 Filed: 02/14/20 Page 1 of 3



              IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF WISCONSIN


THE ANDREW GOODMAN FOUNDATION
AND AMANDA SCOTT,

           Plaintiffs,

     v.                                  Case No. 19-CV-955

MARGE BOSTELMANN, JULIE M.
GLANCEY, ANN S. JACOBS, DEAN
KNUDSON, ROBERT F. SPINDELL, JR., and
MARK L. THOMSEN, in their official capacities
as Wisconsin Elections Commissioners,

           Defendants.


     STIPULATION REGARDING RULE 26(a)(1) DISCLOSURES


     Pursuant to Federal Rule of Civil Procedure 26(a)(1)(C), Plaintiffs The

Andrew Goodman Foundation and Amanda Scott, and Defendants Marge

Bostelmann, Julie M. Glancey, Ann S. Jacobs, Dean Knudson, Robert F.

Spindell, Jr., and Mark L. Thomsen, by their respective counsel, hereby

stipulate that the initial disclosures required under Federal Rule of Civil

Procedure 26(a)(1) shall be made within 30 days of the expiration of the stay

that was ordered by the Court on February 5, 2020, Dkt. 25.
    Case: 3:19-cv-00955-wmc Document #: 27 Filed: 02/14/20 Page 2 of 3



STIPULATED AND AGREED.

    Dated this 12th day of February 2020.


s/ Amanda R. Callais                       s/ Clayton P. Kawski
AMANDA R. CALLAIS                          CLAYTON P. KAWSKI
                                           Assistant Attorney General
Marc E. Elias
John Devaney                               Wisconsin Department of Justice
Stephanie Command                          17 West Main Street
PERKINS COIE LLP                           Madison, WI 53703
700 Thirteenth St., N.W., Suite 600        Telephone: (608) 266-8549
Washington, D.C. 20005                     E-mail: kawskicp@doj.state.wi.us
Telephone: (202) 654-6200
E-mail: acallais@perkinscoie.com           Counsel for Defendants
E-mail: melias@perkinscoie.com
E-mail: jdevaney@perkinscoie.com
E-mail: scommand@perkinscoie.com


David L. Anstaett
PERKINS COIE LLP
33 East Main Street, Suite 201
Madison, WI 53703-3095
Telephone: (608) 663-7460
Facsimile: (608) 663-7499
E-mail: danstaett@perkinscoie.com

Gillian Kuhlmann
PERKINS COIE LLP
1888 Century Park East, Suite 1700
Los Angeles, CA 90067-1721
Telephone: (310) 788-3245
Facsimile: (310) 843-1244
E-mail: gkuhlmann@perkinscoie.com

Yael Bromberg
Chief Counsel for Voting Rights, The
Andrew Goodman Foundation
Bromberg Law LLC


                                       2
     Case: 3:19-cv-00955-wmc Document #: 27 Filed: 02/14/20 Page 3 of 3




43 West 43rd Street, Suite 32
New York, NY 10036-7424
Telephone: (212) 869-5083
Facsimile: (201) 586-0427
E-mail: yaelbromberglaw@gmail.com

Counsel for Plaintiffs




                                     3
